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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


            v.                                                      19-CV-01157-EAW

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 7405
MORGAN ROAD, LIVERPOOL, NEW YORK, et
al.,

                                 Defendants.



             SECOND STIPULATION TO EXTEND CLAIMANTS’ TIME
        TO FILE CLAIM AND ANSWER IN THE CIVIL FORFEITURE ACTION


            WHEREAS, on August 28, 2019, the United States of America filed an action in rem

for the forfeiture of the Real Properties as set forth in a civil complaint for forfeiture in the

above-referenced action. (Docket No. 1);

            WHEREAS, counsel for claimants Morgan Brookwood DE, LLC, Morgan Rivers

Pointe LLC, Morgan Clay Apartments II LLC, Preserve At Autumn Ridge I LLC, Preserve

At Autumn Ridge II LLC, RR Oaks Holdings LP, Morgan 7100 South LLC, Colonial

Gardens, L.P., Colonial Crossings Investments, L.P., Creek Hill Apartments LLC, Chili

Townhomes 246 LLC, Morgan Hickory Hollow LLC, Knollwood Associates LLC, and

Hidden Creek DE, LLC (collectively, the “Claimants”) contacted the government to seek

an extension of time to file a Claim and Answer in the civil forfeiture action due to ongoing

discussions regarding the real properties listed above and other related matters;


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            WHEREAS, in light of ongoing discussions regarding the real properties listed above

and related matters, the plaintiff United States of America may file an Amended Civil

Complaint for Forfeiture in this action;

            WHEREAS, in order for discussions with respect to the aforementioned real

properties to continue to progress and/or conclude, and for an orderly schedule of

pleadings, good cause exists to extend the deadline for the filing of a verified Claim and

response to the Civil Complaint for Forfeiture;

            NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT, by

and between the plaintiff United States of America, by its attorneys, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Mary Clare Kane,

Assistant United States Attorney, of counsel, and Mark Cohen and Jeffrey Lang, counsel

for the Claimants, that:

    1. Due to the complexity of ongoing discussions and negotiations pertaining to the real

            properties below and other related matters, and the intention of the United States of

            America to file an Amended Civil Complaint for Forfeiture in this action, the parties

            agree that there is good cause to extend the above-referenced Claimants’ time to file

            a Claim and response to the Civil Complaint for Forfeiture against the real properties

            listed below, as required by Title 18, United States Code, Section 983(a)(4)(A),

            983(a)(4)(B) and Rule G(5)(a) and Rule G(5)(b) of the Supplemental Rules for

            Admiralty or Maritime Claims and Asset Forfeiture Actions, to the date 60 days

            after the United States of America either: (i) files an amended civil complaint for

            forfeiture or; (ii) provides notice that it does not intend to file an amended civil
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            complaint for forfeiture. The parties further agree that all time elapsed thus far since

            the filing of the civil complaint for forfeiture is tolled.

    2. The real properties named in the civil complaint for forfeiture to which the above

            claimants may have an interest are known as follows, and respectively, are more

            fully described in sub-paragraphs 1(a) through 1(m), of the civil judicial forfeiture

            complaint, Docket No. 1, incorporated herein by reference.

               a. Brookwood On The Green Apartments (Morgan Brookwood DE, LLC);

               b. Rivers Pointe Phase I (Morgan Rivers Pointe LLC);

               c. Rivers Pointe Phase II (Morgan Clay Apartments II DE, LLC);

               d. Preserve At Autumn Ridge I (Preserve At Autumn Ridge I LLC);

               e. Preserve At Autumn Ridge II (Preserve at Autumn Ridge II LLC);

               f. Nineteen North (RR Oaks Holdings LP);

               g. 7100 South Shore Drive Apartments (Morgan 7100 South, LLC);

               h. The View at Mackenzi (Colonial Gardens, L.P. and Colonial Crossings

                   Investments, L.P.);

               i. Creek Hill Apartments (Creek Hill Apartments LLC);

               j. Union Square Apartments Phase 1 (Chili Townhomes 246 LLC);

               k. Hickory Hollow (Morgan Hickory Hollow LLC);

               l. Knollwood Manor Apartments (Knollwood Associates LLC);

               m. Penbrooke Meadows (Hidden Creek DE, LLC);

    3. Nothing in this Stipulation confers automatic standing on any Claimant nor shall it

            limit the right of the United States of America to present any and all of its arguments
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            in favor of civil forfeiture to the Court during the pendency of the civil forfeiture

            action, including, but not limited to, whether a party has proper standing in this

            litigation.

    4. Nothing in this Stipulation shall limit any party, any other Claimant or any other

            potential claimant’s right to file a verified claim and answer with respect to the

            above-referenced real properties or putting forth any argument with respect to

            standing.


DATED: December 23, 2019.


              JAMES P. KENNEDY, JR.                        /s/Mark S. Cohen
              United States Attorney                       MARK S. COHEN
              Western District of New York                 JEFFREY I. LANG
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              mary.kane@usdoj.gov

              Counsel for United States of America         Counsel for Claimants




SO ORDERED.



ELIZABETH A. WOLFORD
U.S. DISTRICT COURT JUDGE
Rochester, New York
December , 2019
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